                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                      3:11cr75

UNITED STATES OF AMERICA            )
                                    )
v.                                  )                                  ORDER
                                    )
NELSON JIMENEZ (6)                  )
____________________________________)

       THIS MATTER comes before the Court upon the defendant’s Motion to Review

Detention Order, pursuant to Rule 58(g)(2)(A) of the Federal Rules of Criminal Procedure.1

(Doc. No. 31). The defendant seeks amendment of the Release Order (Doc. No. 27) to remove

the condition of location monitoring.

       On February 23, 2011, the defendant was arrested pursuant to a complaint charging him

with conspiracy to defraud the United States through false claims, in violation of 18 U.S.C. §

286. (Doc. No. 3: Complaint; Doc. No. 36: Executed Arrest Warrant). A magistrate judge

released the defendant on conditions after a hearing on March 1, 2011. (Doc. No. 27: Order).

       At the detention hearing, the government proffered facts against the defendant tending to

show that he was involved in a scheme to file false tax refund claims using stolen Puerto Rican

Social Security numbers. (Doc. No. 61: Hr’g Tr. at 4-5). The government alleged that the

defendant presented a risk of flight based on his transferring money to Costa Rica and traveling

out of the country frequently. (Id. at 9). The defendant argued, in part, that he has ties to the

community here, including family and a business. (Id. at 11). The magistrate judge adopted the

government’s and probation office’s recommendation that the defendant be released on

conditions, including location monitoring.



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           Motions to review release orders are addressed at 18 U.S.C. § 3145(a).


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       A district court is required to make an independent, de novo determination when acting

on a motion to review a magistrate judge’s pretrial release order. United States v. Stewart, 19 F.

App’x 46, 48 (4th Cir. 2001)(citing United States v. Rueben, 974 F.2d 580, 585-86 (5th Cir.

1992). However, a district court is not required to hold an additional evidentiary hearing as part

of its review. United States v. King, 849 F.2d 485, 489-90 (11th Cir. 1988); United States v.

Hare, 873 F.2d 796, 799 (5th Cir. 1989). After conducting its independent review, a district

court may explicitly adopt the magistrate judge’s order without making duplicate findings, or

may state additional reasons supporting its decision. King, 849, F.2d at 490-91.

       Accordingly, the Court has reviewed the entire record in this case de novo. The Court

finds that the magistrate judge correctly assessed the factors set forth in 18 U.S.C. § 3142(g) in

reaching the conclusion that location monitoring is reasonably necessary to assure the

appearance of the defendant as required, 18 U.S.C. § 3142(c)(1)(B)(xiv), and adopts the

magistrate judge’s order.

       IT IS, THEREFORE, ORDERED that the defendant’s Motion to Review Detention

Order (Doc. No. 31) is DENIED.


                                                 Signed: May 10, 2011




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